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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVlSION

UNITED sTATEs or AMERICA, ) Caus@ NO;
Respondent, ) '
) 5:l 5-cr~00395-BLF-l
VS. § Civil Action No:
MISAKO YAMAGUCHI, )
Movant. )
)
)

 

 

 

AFFIDAVIT OF MESAKO YAMAGUCHI

l, l\/lasalco Yamaguchi do swear and affirm that;
l. l arn the l\/[ovant in the foregoing action;

2.l\/lr. Kirk Elliot Was rny Attorney of record in the above captioned matter in Which l Was
charged

3 .Mr. Elliot Was the one and only individual on Whom l relied on for advice in this matter.r
4. Relying on Mr. Elliot’s advice l entered a plea of guilty to the charge of l\/[ail Fraud.

5. Counsel Elliott did not advise me that l faced the certainty of deportation upon entering
the plea.

6. I had no reason to believe that l faced deportation because of the conviction by guilty '
plea d n

7. Had l known that l vvould be deported as a result of rny plea of guilty, l Would never have
entered the guiity plea to the ciiarge, instead, IWould have either sought a different type of plea

AFFIDAVIT» l

 

 

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(which Would not result in my necessarily being deported) or, alternatively, I Would have gone to
tria ."

Further Afiiant sayeth not.

l SWear or Affirni that the above and foregoing representations are true and correct to the
best of my information, l<no'vv\edge and belief.

\`_

iam/x j W/f/‘””Wf
Misak@ vwagii:¢i].i)#zz¢ioo~i 1 1

 

IN WITNESS WHEREOF, I have hereunto set my hand and seal
this §§ day of f'€ii!» §“/!lt fit ?"" §§ , 2017 .
§

Signed, sealed and delivered in the presence of:

C“i<taeaaa ,

Witness alrwsi:c,tt tOi"r¢?.j

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Wi’fn€SS \i’\i,e.:\d via %'\ Bo'€` €’~'

 

State of _)
) ss.
County of )

The foregoing instrument Was acknowledged by rne this
day of , 2017 by:
Who is/ are personally known by me or Who has/ have produced:
as identification and Who did not take an

 

 

oath.

(SEAL)

 

Notary Public
l State of

My Cornrnission Expii‘es:

AFFIDAVIT- 2

 

 

 

